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18   World Wrestling Entertainment, Inc.
19                                 UNITED STATES DISTRICT COURT
20                           NORTHERN DISTRICT OF CALIFORNIA
21                                         SAN JOSE DIVISION
22
     MLW MEDIA LLC,                                Case No. 5:22-cv-00179-EJD
23
                      Plaintiff,                   DEFENDANT WORLD WRESTLING
24                                                 ENTERTAINMENT, INC.’S REPLY IN
            v.                                     SUPPORT OF ITS MOTION TO DISMISS
25
     WORLD WRESTLING                               Hearing Date: September 29, 2022
26   ENTERTAINMENT, INC.,                          Time: 9:00 AM
27                                                 Place: Courtroom 4 or videoconference
                      Defendant.
                                                   Judge: Hon. Edward J. Davila
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 1                                   PRELIMINARY STATEMENT

 2            Defendant World Wrestling Entertainment, Inc. (“WWE”) submits this reply memorandum

 3   in support of its motion to dismiss the Complaint filed by MLW Media LLC (“MLW”).

 4            As WWE explained in its moving brief (“Mem.”), MLW failed to plead a violation of

 5   Section 2 of the Sherman Act, intentional interference with contract, intentional interference with

 6   prospective economic advantage, and a violation of California’s unfair competition law (“UCL”). 1

 7   Now MLW is attempting to resurrect its case by asserting facts never alleged in the four corners of

 8   its Complaint. But, of course, “[s]tatements made in an opposition brief cannot amend the

 9   complaint.” Rodriguez v. Kwok, 2014 WL 889570, at *6 (N.D. Cal. Mar. 3, 2014). Indeed, “a court

10   may not look beyond the complaint to a plaintiff’s moving papers, such as a memorandum opposing

11   the motion to dismiss, because such memoranda do not constitute pleadings under Rule 7(a).”

12   Schneider v. Cal. Dept. of Corrections, 151 F.3d 1194, 1197 n.1 (9th Cir. 1998) (emphasis in

13   original).

14            First, MLW’s monopolization claim(s) remain unviable. MLW has not and cannot plead

15   the core elements of a monopolization claim: (1) a relevant product market, (2) monopoly power,

16   (3) anticompetitive conduct, and (4) antitrust injury. Confronted with WWE’s motion to dismiss

17   and the deficiencies of its own Complaint, MLW now tries to reframe its Complaint through its

18   opposition (Opp.), asserting that WWE’s exclusive contracts with Fox and NBCUniversal foreclose

19   MLW from the “market” by cutting off its access to key distributors or purchasers. However,

20   MLW’s complaint is silent on (1) WWE’s use of exclusive contracts, (2) whether these exclusive

21   contracts substantially foreclose the proposed market, or (3) the existence of “key” networks, cable,

22   and streaming services that control access to this proposed marketplace.

23

24

25   1
         MLW asserts that WWE did not challenge its claim of attempted monopolization. MLW did not
26
     allege separate claims for monopolization or attempted monopolization. However, as WWE noted,
27
     the elements of the two claims overlap, and a claim based on attempted monopolization would fail
28
     for the same reasons as MLW’s monopolization claim fails. Mem. at 7.


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 1            Second, MLW’s various state law claims should be dismissed for lack of diversity and/or

 2   supplemental jurisdiction. Even if this Court could continue to exercise jurisdiction, MLW fails to

 3   respond to WWE’s arguments in its moving brief. The intentional interference claims are not

 4   plausibly pled, and MLW has no standing to bring a UCL claim.

 5            For these reasons, WWE respectfully requests that the Court dismiss MLW’s Complaint

 6   with prejudice and deny its request to amend the Complaint as futile.

 7                                              ARGUMENT

 8   I.       MLW FAILS TO ALLEGE A PLAUSIBLE SECTION 2 CLAIM AGAINST WWE

 9            A.      MLW’s Market Definition Remains Factually Unsupported

10            As WWE explained, defining a plausible relevant product market is the “threshold step in

11   any antitrust analysis . . . .” Fed. Trade Comm'n v. Qualcomm Inc., 969 F.3d 974, 992 (9th Cir.

12   2020). It is not enough just to assert that a product market exists; MLW must allege facts that

13   “justify any proposed market by defining it with reference to the rule of reasonable

14   interchangeability and cross-elasticity of demand.” Reilly v. Apple Inc., 2022 WL 74162, at *4

15   (N.D. Cal. Jan. 7, 2022) (internal citations omitted). MLW’s product market definition consists of

16   a conclusory statement that the relevant market is the “national market for the sale of broadcasting

17   rights for professional wrestling programs to networks, cable and streaming services.” Compl. ¶

18   17. 2 MLW states the outline of a proposed market, but that is not enough.

19            WWE agrees that the proposed market need not be defined to an economic certainty at the

20   pleading stage but, at the same time, it must be more than a blindfolded toss at a dartboard. See,

21   e.g., Reveal Chat Holdco, LLC v. Facebook, Inc., 471 F. Supp.3d 981, 998 (N.D. Cal. 2019). MLW

22   offers no allegations about potential substitutes, interchangeability, or cross-elasticity of demand.

23   Plainly put, the Complaint fails to tell the Court and Defendant whether or not the purchasers in

24

25

26   2
         MLW cannot defeat a motion to dismiss by theorizing that scripted professional wrestling could
27
     be a “sub-market” of some other relevant product market. Opp. at 9. Although complaints may
28
     define relevant sub-markets, the Complaint does not allege any sub-markets.


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 1   this proposed market could substitute any other form of programing for scripted professional

 2   wrestling.

 3            Contrary to MLW’s contentions, Courts routinely dismiss complaints for failure to provide

 4   an adequate factual basis for a proposed market. See, e.g., Colonial Med. Group, Inc. v. Catholic

 5   Healthcare West, No. C-09-2192 MMC, 2010 WL 2108123, at *3 (N.D. Cal. May 25, 2010); Reilly,

 6   2022 WL 74162, at *5-6 (granting motion to dismiss for failure to explain “why the products

 7   included in the market are substitutes for one another” and why “seemingly similar products

 8   excluded from the market are not substitutes for those in the market.”).

 9            In its Opposition, MLW cites Reveal Chat to argue that dismissal is inappropriate if any

10   factual issues surrounding market definition exist. Reveal Chat, 471 F. Supp.3d at 999. However,

11   in Reveal Chat there were allegations in the complaint that created an issue of fact, whereas MLW’s

12   Complaint is void of any factual support for its market. Reveal Chat is not on point, and MLW’s

13   attempt to distinguish its own conclusory statements from those in Colonial Medical and Reilly

14   likewise fall flat. 3

15            Likely recognizing this deficiency, MLW improperly inserts new, unpled factual assertions

16   in its Opposition. MLW now argues that the sale of scripted professional wrestling broadcast rights

17   must be a distinct product market because professional wrestling is a “sport”. See Opp. at 8. MLW

18   further argues that scripted professional wrestling “attracts a unique audience that limits the number

19   of economic substitutes.” Opp. at 8. As a preliminary matter, the Court should disregard these

20   freshly articulated “facts.” The Complaint did not as much as hint at either assertion. MLW has

21   already charted its course in the Complaint and may not use its Opposition to change tack. See

22   Rodriguez, 2014 WL 889570, at *6 (citing Schneider v. Cal. Dep't of Corr., 151 F.3d 1194, 1197

23   (9th Cir. 1998)).

24

25   3
         MLW also cites Teradata Corp. v. SAP SE, 2021 WL 5178828, at *13 (N.D. Cal. Nov. 8, 2021)
26
     to argue that market definition need not reference cross-elasticity of demand. That is wrong.
27
     Teradata held that, on summary judgment, a plaintiff may establish a relevant product market
28
     through evidence other than detailed economic studies.


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 1            MLW’s attempt to cast professional wrestling as a “sport” is not only clearly outside the

 2   four corners of its own Complaint; it is also wholly inaccurate. First, plaintiffs that define a relevant

 3   market around sports and sport leagues do so by alleging facts demonstrating that the sport product

 4   has no adequate substitutes through references to cross-elasticity of demand. See, e.g., Complaint.

 5   ¶¶ 55-62, Le v. Zuffa, LLC, No. 2:15-cv-01045-RFB-BNW, Doc. 1 (N.D. Ca. Dec. 16, 2014)

 6   (plaintiff alleged, with factual support, that professional wrestling, boxing, kickboxing, and other

 7   forms of entertainment are not substitutes for mixed martial arts).

 8            Second, and more importantly, MLW fails to allege facts to support its assertion that

 9   scripted professional wrestling is a sport because no such facts exist. Professional wrestling is a

10   scripted drama, not a sport. It has as much in common with an actual sport as the Rocky films have

11   with actual boxing. Indeed, based on the facts alleged in the Complaint alone, the market dynamics

12   of professional wrestling are fundamentally different from those of a sport. For example, the US

13   has only one professional basketball league, the NBA. Although the NBA generates tremendous

14   revenues, no other league even attempts to compete. Here, MLW alleges that multiple companies,

15   such as WWE, MLW, AEW, and Impact Wrestling, all compete to sell broadcast rights to the same

16   group of purchasers. This dynamic is consistent with the sale of general entertainment

17   programming, not sports programming.

18            B.     MLW Did Not Plead Direct or Circumstantial Evidence of Monopoly Power

19                   1.      MLW Did Not Plead Direct Evidence of Monopoly Power

20            MLW fails to allege direct evidence of WWE’s monopoly power in its purported relevant

21   product market. MLW relies almost exclusively on the Third Circuit case, United States v.

22   Dentsply. 4 There, the market was for artificial teeth sold to dental dealers. United States v.

23

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25   4
         MLW also argues that it pled direct evidence of monopoly power by alleging reduced output and
26
     supracompetitive prices. Opp. at 11. However, MLW never alleged that WWE or any other
27
     purported competitor reduced its output of scripted professional wrestling, nor did it allege that
28
     WWE charges supracompetitive prices for its content. MLW cannot rely on an undefined or


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 1   Dentsply, Int’l, Inc. 399 F.3d 181, 184 (3d Cir. 2005). The court held that a manufacturer in that

 2   market could only viably compete if it could sell teeth to dealers rather than directly to their

 3   customers. Id. at 193. The court further held that, although other dealers existed, Dentsply had

 4   exclusive contracts with the “key” dealers that constituted the “real market”. Id. at 189. Further,

 5   Dentsply teeth accounted for the vast majority of the key dealer’s revenue. Id. at 185 (top five

 6   dealers derived on average 83% of their revenue from Dentsply). This gave Dentsply the power to

 7   force the “key” dealers to maintain near total exclusivity. Id. at 194. Thus, Dentsply could exert

 8   monopoly power controlling the “key” dealers and thereby improperly manipulate the marketplace.

 9            MLW has not and cannot plead facts similar to those in Dentsply. There is no allegation,

10   nor could there be, that all networks, cable, and streaming services derive 83%, 8.3%, or 0.83% of

11   their revenue from WWE content. NBCUniversal and Fox, combined, only purchase three WWE

12   television programs out of the presumably hundreds (if not thousands) of programs that their

13   networks air per week. Critically, it is never alleged that, if the WWE were to withhold its product,

14   the television networks would stop broadcasting or “go dark.” Instead, and logically, they would

15   fill that “dark time” with alternative programming over whose production WWE has no control.

16   The notion that WWE has monopoly power over some of the largest companies on earth is an

17   economic absurdity, is not supported by allegations in the Complaint, and could never be supported

18   by good faith allegations. 5

19                   2.     MLW Did Not Plead Circumstantial Evidence of Monopoly Power

20            First, MLW argues that it sufficiently pled WWE’s market share in the purported relevant

21   market merely by alleging a figure – 85% – without further explanation. But, “[a]lthough Plaintiff

22   need not necessarily quantify [Defendant’s] market share with precision, Plaintiff must assert some

23   facts in support of its assertions of market power that suggest those assertions are plausible.” Korea

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25
     uncited “fundamental principle of supply and demand,” Opp. at 11 n.9, to remedy its failure to
26
     allege supracompetitive prices.
27   5
         As discussed infra in the context of monopoly maintenance, MLW also cannot rely on Dentsply
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     because it never alleged that WWE controls any “key” networks, cable, and streaming services.


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 1   Kumho Petrochem. v. Flexsys Am. LP, 2008 WL 686834, at *9 (N.D.Cal. Mar.11, 2008); see also

 2   Cargill Inc. v. Budine, 2007 WL 2506451, at *8 (E.D.Cal. Aug.30, 2007) (plaintiff failed to assert

 3   facts supporting defendant’s alleged market share and, thus, did not satisfy the plausibility

 4   requirement). MLW never stated why this 85% figure reflects WWE’s market share. MLW’s

 5   reliance on Klein is misplaced. There, the plaintiff provided “additional evidence to bolster their

 6   market share calculations” with allegations such as “Facebook’s products include three of the seven

 7   most popular mobile apps,” and that Facebook reached “74% of smartphone users.” Klein v.

 8   Facebook, Inc., 2022 WL 141561, at *16 (N.D. Cal. Jan. 14, 2022).

 9            MLW cannot rely on Brantley v. NBC Universal, Inc., 2008 WL 11357958, at *3 (C.D. Cal.

10   Jun. 25, 2008), to argue that Nielsen television ratings (“Ratings”) are, as a matter of law, an

11   appropriate measure of market share. 6 Brantley merely stated that Ratings (i.e., viewership) were

12   a potential measure of television networks’ market share because, it was alleged, Ratings measure

13   how many viewers watch a channel, and a highly viewed channel was more valuable to cable

14   providers than lower-rated channels. See Brantley v NBC Universal, Inc., 675 F.3d 1192, 1195

15   (9th Cir. 2012). However, MLW never alleges that WWE is a television network or a cable

16   provider. Instead, MLW alleges that WWE sells its programming to television networks, cable, and

17   streaming services. Nowhere does MLW attempt to explain how a potential measure of market

18   share for television networks is in any way applicable to the WWE. Accordingly, MLW’s use of

19   Ratings as a proxy for market share remains untethered to its alleged marketplace.

20            Even if MLW alleged that WWE has a high market share, it is a “basic fact of economic

21   life” that market share does not raise an “inference” of monopoly power if there is evidence of low

22   entry barriers or a defendant’s inability to control prices. United States v. Syufy Enters., 903 F.2d

23   659, 664 (9th Cir. 1990). Indeed, “market share is just the starting point for assessing market

24   power,” and “[b]lind reliance upon market share, divorced from commercial reality, could give a

25   misleading picture of a firm's actual ability to control prices or exclude competition.” Id. (internal

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27   6
         The complaint in Brantley alleged direct proof of market power, and so there was “no need for
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     the indirect proof provided by market share.” Id.


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 1   citations omitted). As discussed above, MLW fails to plead facts demonstrating how an alleged

 2   market share of 85% allows WWE to dictate prices to networks, cable, and streaming services or

 3   to control what programming they purchase. Without such allegations, the claim is deficient.

 4          Second, MLW’s argument that it pled barriers to entry is similarly without support in the

 5   Complaint. This Court previously has held that “references [to barriers] are a start, but they are not

 6   enough,” and a plaintiff must plead “supporting facts” describing those barriers. Optronic Techs.,

 7   Inc. v. Ningbo Sunny Elec. Co., 2017 WL 4310767, at *9 (N.D. Cal. Sept. 28, 2017); Mem. at 10-

 8   11. MLW fails to support or describe its alleged barriers to entry with any factual allegations.

 9   MLW cites Retrophin; however, that plaintiff actually pled twelve paragraphs describing the

10   barriers to entry faced by pharmaceutical companies. Retrophin, Inc. v. Questcor Pharma., Inc.,

11   41 F. Supp.3d 906, 916 (C.D. Cal. Aug. 8, 2014). Thus, in Retrophin the plaintiff had pled in its

12   complaint specific facts to support the existence of barriers to entry, which the plaintiff failed to do

13   in Optronic and which MLW failed to do here.

14          MLW incorrectly argues that costs to compete are a barrier to entry. See Mem. at 10 (citing

15   Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1439 (9th Cir. 1995); W. Parcel Exp. v. United

16   Parcel Serv. of Am., Inc., 65 F. Supp. 2d 1052, 1062 (N.D. Cal. 1998); Syufy., 903 F.2d at 667). MLW

17   failed to allege what these various costs are or how they are relevant to a company’s ability to sell

18   broadcast rights. As has become routine, MLW again attempts to introduce new, unpled facts, this

19   time by attaching WWE’s 2021 10-K to its Opposition. MLW in no way included or referenced

20   this document in its Complaint (as it could have done), and the Court should strike its improper

21   introduction. However, even this improper document provides MLW no safe harbor, as MLW has

22   not alleged facts demonstrating that WWE’s costs reflect “additional long-run costs” that a nascent

23   competitor must pay to enter this supposed market. Rebel Oil, 51 F.3d at 1438. See also DeSoto

24   Cab Co., Inc. v. Uber Techs., Inc., 2018 WL 10247483, at *8 (N.D. Cal. Sept. 24, 2018) (Uber’s

25   large capital venture backing and investments “not a barrier to entry” because not every entrant

26   requires them). Moreover, one of the primary ways a new competitor takes market share is by

27   developing cheaper, more efficient cost structures. MLW alleges that it generates “cutting-edge

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 1   professional wrestling content” and competes with WWE, presumably with far fewer expenses –

 2   surely its costs better represent those faced by a new, innovative competitor than do WWE’s.

 3          Perhaps most importantly, MLW alleges that other competitors have successfully entered

 4   the market. MLW cannot now distance itself from its own allegations of successful entry.

 5   Specifically, the Complaint alleged that MLW and AEW both entered the market and produced

 6   programming that networks, cable, and streaming services could purchase. Compl. ¶¶ 20, 31.

 7   Further, the Complaint alleged that AEW, within a year of entering, sold its broadcast rights for

 8   tens of millions of dollars and captured an average 2020 rating of 0.344 compared to WWE Raw’s

 9   0.5075 in the key 18-to-49 demographic. Compl. ¶ 23. MLW’s own Complaint thus depicts a

10   market with aggressive players vying for market share and finding successes. These allegations

11   alone undercut MLW’s conclusory allegations of monopoly power. Cf. Dentsply, 399 F.3d at 189

12   (monopoly power evidenced by “lack of aggressiveness by competitors”).

13          C.      MLW Failed to Plead Monopoly Maintenance

14                  1.      MLW Did Not Allege Exclusive Contracts

15          In its Opposition, MLW argues, again without a modicum of support in its Complaint, that

16   WWE has exclusive contracts with NBCUniversal and Fox, and that these contracts prevent MLW

17   or other wrestling promotions from selling broadcast rights to two of the yet-to-be-alleged number

18   of networks, cable, and streaming services. This reframing of the Complaint completely fails. The

19   Complaint itself contains no allegation about WWE’s use of exclusive contracts or de facto

20   exclusive contracts with NBCUniversal or Fox. Further, MLW failed to allege that these exclusive

21   contracts resulted in substantial foreclosure or foreclosure from “key” purchasers of broadcast

22   rights. Indeed, the words “substantial”, “foreclosure”, or “key” fail to appear at any point in MLW’s

23   Complaint.

24          MLW is incorrect that a Section 2 challenge of an exclusive contract does not need to plead

25   substantial foreclosure. Dentsply – a Section 2 case – required a plaintiff to establish that “the

26   challenged practices bar a substantial number of rivals or severely restrict the market's ambit.”

27   Dentsply, 399 F.3d at 191; see also United States v. Microsoft Corp., 253 F.3d 34, 70 (D.C. Cir.

28   2001) (exclusive contracts foreclosed competition by “closing to rivals a substantial percentage of


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 1   the available opportunities for browser distribution.”) (emphasis added). MLW never even

 2   attempted to allege any facts of this nature. 7

 3             MLW cannot rely on Dentsply or Microsoft to argue foreclosure from “key” purchasers of

 4   broadcast rights. These cases stand for the proposition that control over a limited number of

 5   distributors can entrench a monopolist if access to those distributors is necessary to viable

 6   competition. MLW never alleged any facts supporting that Fox, NBCUniversal, VICE, or Tubi are

 7   necessary purchasers of broadcast rights. Nor did MLW allege that only a limited number of

 8   networks, cable, or streaming services will purchase professional wrestling. Opp. at 4. To the

 9   contrary, MLW alleged that all networks, cable, and streaming services are potential purchasers of

10   this product. Compl. ¶ 17. In fact, MLW alleged that the other two competitors in this purported

11   market, AEW and Impact Wrestling, have successfully sold their broadcast rights. Compl. ¶¶ 20-

12   22. MLW has not alleged that WWE in any way substantially foreclosed it or any competitor from

13   selling its broadcast rights to those purchasers. 8 See Mem. at 12-13.

14

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16   7
         Reliance on Twin City Sportservice, Inc. v. Charles O. Finley & Co., Inc. is similarly misplaced.
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     That case makes clear that finding a Section 1 exclusive-dealing violation involves “assess[ing]
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     whether competition has been foreclosed in a substantial share of the relevant market.” 676 F.2d
19
     1291, 1302 (9th Cir. 1982). There, the unreasonableness of the defendant’s exclusive contracts
20
     was evidenced from a “pattern of obtaining contracts of unreasonable length, often coupled with
21
     the use of ‘follow-the-franchise’ clauses and, in many cases, the predatory use of its financial
22
     strength to obtain its favorable concession franchise agreements.” Id. at 1301. No similar
23
     allegations exist here.
24   8
         MLW provides no legal support for its “right” to relationships with its “chosen distributors.” Opp.
25
     at 18. Obviously, any contract that arises from a competitive process results in one seller securing
26
     a customer and other sellers losing that customer. MLW’s argument would make exclusive
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     contracts illegal per se (they are not). Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp.
28
     LP, 592 F.3d 991, 996 (9th Cir.2010).


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 1             Nothing in MLW’s Complaint or its Opposition overcomes the simple fact that exclusive

 2   contracts are “commonplace,” and “imposing upon a firm with market power the risk of an antitrust

 3   suit every time it enters into such a contract, no matter how small the effect, would create an

 4   unacceptable and unjustified burden upon any such firm.” Microsoft, 253 F.3d at 70; see also

 5   Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1030 (N.D. Cal. 2015) (noting “well-recognized

 6   economic benefits to exclusive dealing arrangements”). By failing to plead foreclosure, MLW

 7   failed to plead any unreasonable exclusive contracts.

 8                    2.     MLW Has Not Plausibly Alleged Other Exclusionary Conduct

 9             Perhaps acknowledging that it did not plead unlawful exclusive contracts or exclusive

10   dealing, MLW now contends that it really meant to allege a “broad anticompetitive scheme” by

11   WWE. This is a distraction, and MLW’s Complaint again offers no support for this argument.

12             MLW asserts that WWE “encourage[ed] wrestlers to breach their contracts with MLW and

13   divulge confidential and proprietary information about MLW’s business;” that it “lock[ed] up key

14   inputs needed to compete, such as wrestler talent and arena facilities;” and that it “decreas[ed]

15   competitors’ ticket sales and brand recognition.” Opp. at 16, 18. But MLW never alleged who

16   these wrestlers were, how their contracts were breached, what confidential information was

17   disclosed, or which wrestlers or arenas were “locked up.” 9 See Mem. at 13-14. Still worse, MLW

18   never articulates how any of these actions would violate the antitrust laws. For example, stripped

19   of labels, MLW simply asserts that WWE and MLW compete to hire talent. 10

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21   9
         MLW attacks WWE for having exclusive contracts with talent, see Opp. at 4 and Compl. ¶ 26,
22
     but MLW pleads that it enters into exclusive contracts with talent as well. Compl. ¶ 33. Tellingly,
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     MLW fails to plead which talent WWE has “locked up.” As MLW is well aware, WWE released
24
     over 80 talents in 2021, including former world champions and headliners. See Exhibit A. This
25
     naked allegation teeters on running afoul of Fed. R. Civ. P. 11.
26   10
          It would be a potential criminal antitrust violation for WWE to agree with MLW not to compete
27
     for talent. See, e.g., Indictment, United States v. Davita, Inc., No. 1:21-cr-00229-RBJ, Doc. 1 (D.
28
     Colo. Jul. 14, 2021).


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 1             These conclusory allegations do not provide the framework for a monopolization claim.

 2   Simply put, MLW has not pled how these actions relate to the purported relevant market, here the

 3   sale of national broadcast rights to networks, cable, and streaming services. Without more, we are

 4   all left wondering how hiring wrestlers, booking arenas for live events, and selling tickets to fans

 5   are somehow relevant to the sale of national broadcast rights to networks, cable, and streaming

 6   services. “[C]ourts must focus on anticompetitive effects ‘in the market where competition is

 7   [allegedly] being restrained.’” Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1057

 8   (9th Cir. 1999). “[E]ven if [WWE’s] practices are interrelated, actual or alleged harms to customers

 9   and consumers outside the relevant markets are beyond the scope of antitrust law.” Fed. Trade

10   Comm'n v. Qualcomm Inc., 969 F.3d 974, 993 (9th Cir. 2020).

11             D.      MLW Fails to Plead Antitrust Injury

12             Contrary to MLW’s argument, antitrust injury must be adequately pled, and courts routinely

13   dismiss antitrust actions unless competitors plausibly plead how the alleged violation harmed not

14   just the competitor-plaintiff, but competition in the relevant market. 11 Mem. at 14-15.

15             The Complaint is entirely devoid of any factual allegations demonstrating harm to

16   competition rather than alleged harm to MLW. MLW does not allege that any network, cable, or

17   streaming service paid inflated, supracompetitive prices for scripted professional wrestling

18   broadcast rights. Nor does it allege that WWE prevents competitors from increasing their own

19   output of scripted professional wrestling or prevents networks, cable, and streaming services from

20   producing their own scripted wrestling program. To the contrary, as WWE explained (and which

21   MLW does not appear to contest), the Complaint alleges that WWE, AEW, Impact Wrestling, and

22   MLW all continue to produce content, the broadcast rights to which are available for networks,

23   cable, and streaming services to purchase. Compl. ¶¶ 2, 20, 50. Moreover, nothing in the Complaint

24   suggests that these companies cannot produce even more content if the demand exists. Without

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27   11
          MLW relies exclusively on cases pre-dating Twombly to argue that antitrust injury is not typically
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     resolved on a motion to dismiss. The post-Twombly cases cited by WWE are controlling.


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 1   actual allegations of reduced output and supracompetitive prices, antitrust injury is not properly

 2   pled, and the claim must be dismissed.

 3            MLW’s reliance on LePage’s and GSI to establish antitrust injury is wholly misplaced.

 4   They held that harm to a competitor also harms competition when an alleged monopolist cuts off

 5   access to key purchasers in an alleged product market in order to operate unchallenged and free of

 6   competition. LePage’s, Inc. v. 3M, 324 F.3d 141, 159-60 (3d Cir. 2003) (a jury could have

 7   reasonably found that 3M’s exclusionary conduct “cut LePage’s off from key retail pipelines

 8   necessary to permit it to compete profitably,” and that this conduct allowed 3M to “exercise its

 9   monopoly power unchallenged, as Tesa Tuck was no longer in the market.”) (emphasis added);

10   GSI Tech., Inc. v. Cyrpess Semiconductor Corp., 2012 WL 2711040, at *6 (N.D. Cal. Jul. 6, 2012)

11   (antitrust injury pled because standard setting body eliminated “ability to market competitive

12   products and to lock in key customers.”). But, as explained above, MLW never articulated that

13   there are any “key” distributers in the proposed market, let alone alleged that WWE restricted

14   access to them. Meanwhile, MLW’s reliance on Amarel v. Connell is irrelevant because it is held

15   that antitrust injury was adequately pled for reasons unique to a predatory pricing claim. 102 F.3d

16   1494 (9th Cir. 1996); see Payment Logistics Limited v. Lighthouse Net., LLC, 2020 WL 7024647

17   (S.D. Cal. Nov. 30, 2020), at *5 (limiting Amarel only to predatory pricing claims). 12

18   II.      MLW HAS NOT SALVAGED ITS STATE LAW CLAIMS

19            MLW’s failure to adequately allege a federal cause of action means this Court must dismiss

20   the remaining state law claims for lack of subject matter jurisdiction. See Mem. at 17. But even if

21   the monopolization claim survives, MLW fails to muster arguments to save its state law claims.

22            A.     The Intentional Interference with Contract Claim is Implausible and

23                   Unsupported with Factual Allegations

24            MLW alleges inadequate facts about WWE’s purported interference with the Tubi contract

25   to plead intentional interference. Mem. at 17. MLW failed to allege who at Tubi spoke to Ms.

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27   12
          MLW’s does not meaningfully distinguish cases cited by WWE. Mem. at 15; Opp. at 19 n.13.
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     These cases held that a competitor must allege more than conclusory harm to competition.


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 1   McMahon, what Ms. McMahon said to force Tubi to terminate its contract with MLW, or how

 2   frequently Ms. McMahon spoke to unnamed individuals at Tubi. As WWE noted previously, MLW

 3   also alleged that it received a letter terminating its contract with Tubi but it failed to plead the

 4   letter’s contents or the grounds for termination. 13

 5            MLW cites one tortious interference case to support its claim, New Box, but MLW

 6   completely misreads the case. New Box Sols., LLC v. Davis, 2018 WL 4562764, at *5 (C.D. Cal.

 7   Sept. 18, 2018). It does not hold that allegations of a “call” by a defendant to a third party, with

 8   nothing more alleged, establish an intentional interference claim. There, defendants, previously

 9   employees of the plaintiff, solicited a third-party, Legendary Pictures, to cancel its contracts with

10   the plaintiff and do business with them instead. New Box, 2018 WL 4562764, at *5. The solicitation

11   and interference were demonstrated by (i) Legendary Pictures cancelling the plaintiff’s contracts in

12   order to obtain the same services from the defendants, and (ii) defendants working for Legendary

13   Pictures prior to the cancellation. Id. at *7. Here, MLW did not allege that Tubi switched from

14   MLW to WWE or that WWE obtained any beneficial commercial relationship with Tubi. The

15   “call” in New Box was Legendary Pictures’ call to the plaintiff to cancel its contracts, which had

16   zero connection to the conduct by defendants constituting intentional interference with contract.

17   See New Box, 2018 WL 4562764, at *7. New Box similarly does not support MLW’s argument

18   that it can avoid pleading the contents of the termination letter. There, the court held that the

19   plaintiff did not need to plead the exact terms of the contract with which defendants purportedly

20   interfered. New Box, 2018 WL 4562764, at *7. The termination letter, by contrast, is vital to

21   understand the facts surrounding the termination and the plausibility of MLW’s version of events.

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23   13
          Dentsply does not help MLW’s argument. There, Dentsply had agreements with the 23 top
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     distributors of artificial dental teeth; thus, it is plausible that Dentsply could threaten one distributor
25
     to force it to accept exclusive terms. According to MLW, WWE has only two contracts to sell
26
     broadcast rights, and breaching the Fox contract would have exposed WWE to losing as much as
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     (again, according to MLW) half its yearly revenue. That is entirely implausible, and MLW could
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     plead no facts to make that fanciful allegation plausible.


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 1          B.      The Intentional Interference with Prospective Economic Advantage Claim

 2                  Lacks Allegations of Knowledge, Actual Disruption, and Causation

 3          Knowledge that MLW was negotiating a contract to air first-run content on VICE is a

 4   threshold pleading requirement that MLW has not satisfied. See Mem. at 18-19; Roy Allan Slurry

 5   Seal, Inc. v. Amer. Asphalt South, 2 Cal.5th 505, 512 (2017). MLW relies wholly on one case,

 6   Chaquico v. Freiberg, 2018 WL 3368733 (N.D. Cal. Jul. 10, 2018). It involved the contentious

 7   relationship of members of the rock band Jefferson Airplane/Starship, with various band members

 8   touring under similar names and accusing one another of being “fake” versions of the band. Id. at

 9   *2. The “knowledge” element of the claim was pled because the counterclaim-defendant knew that

10   the counterclaimants were touring as Jefferson Starship, and counterclaimants did not need to plead

11   that the counterclaim-defendant knew specifically which venues or fans he discouraged from

12   engaging commercially with them. Id. at *5-6. Here, however, MLW failed to allege that WWE

13   even knew of the negotiations with VICE, which would be akin to the counterclaim-defendant not

14   knowing that Jefferson Starship was on tour.

15          Actual disruption of the prospective economic advantage is another threshold element that

16   MLW fails to allege, and which MLW does not address in its Opposition. See Mem. at 19. Based

17   on the Complaint, VICE aired a first-run episode of MLW content, thus showing (i) that

18   negotiations continued for months after the supposed call between a WWE employee and VICE

19   executive, and (ii) that they were not remotely disrupted by WWE.

20          Finally, MLW does not allege causation and misunderstands WWE’s argument on this

21   point. WWE is not suggesting that one potential cause for the supposed disruption of the VICE

22   negotiations (the single communication with WWE) should be disregarded for another (MLW’s

23   reportedly disappointing viewership). Rather, WWE argues that MLW must allege more facts to

24   plausibly suggest that a call from a WWE employee in June is what caused VICE to terminate its

25   negotiations with MLW many months later, not any number of other intervening events.

26          C.      MLW Lacks Standing to Bring a UCL Claim

27          MLW has not alleged a UCL claim because it did not allege antitrust or tortious interference

28   claims, nor did it come close to doing so. See Mem. at passim. But MLW’s UCL claim also fails


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 1   regardless of all other claims because MLW lacks standing to bring it. All purportedly unfair

 2   conduct is alleged to have emanated in Connecticut (WWE’s place of business) and to have been

 3   felt in New York (MLW’s place of business). The allegation that a Tubi executive was located in

 4   California is not enough to demonstrate standing. See Mem. at 21. Nestle does not support MLW.

 5   There, the counterclaim-defendant was headquartered in California, all of the allegedly unfair acts

 6   that it committed were in California, the decision to engage in those acts emanated from the

 7   California headquarters, and the unfair acts targeted the counterclaimant’s franchisees in California.

 8   Nestle USA, Inc. v. Crest Foods, Inc., 2019 WL 2619635, at *11 (C.D. Cal. Mar. 8, 2019). No

 9   similar ties to California exist here. 14

10   III.      THE COURT SHOULD DENY LEAVE TO AMEND

11             MLW requests leave to amend its Complaint if dismissed. The Court should not grant this

12   request. Even if MLW could tailor its allegations to address the Complaint’s many current

13   deficiencies, MLW can never plausibly plead that WWE has market power over networks, cable,

14   and streaming services, some of the wealthiest and largest corporations on earth, all with the means

15   and ability to produce their own professional wrestling content or buy it from the myriad or other

16   content creators. Accordingly, any amendment to the federal antitrust claim is futile and, as

17   explained, the Court lacks subject matter jurisdiction over the remaining state law claims.

18                                               CONCLUSION

19             WHEREFORE, for each of the reasons explained above, World Wrestling Entertainment,

20   Inc. respectfully requests that the Court dismiss MLW Media LLC’s Complaint with prejudice for

21   failure to state a claim upon which relief can be granted and for whatever other relief the Court

22   deems just and equitable.

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27   14
          MLW also lacks Article III standing because it failed to plausibly allege any ongoing conduct by
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     WWE to enjoin.


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